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   March 11, 2021                                                      USDC SDNY
                                                                       DOCUMENT
  VIA ECF                                                              ELECTRONICALLY FILED
                                                                       DOC #:
  Hon. Mary Kay Vyskocil                                               DATE FILED: 3/12/2021
  United States District Judge
  Southern District of New York
  500 Pearl Street
  New York, New York 10007

           Re:       United States v. Jorge Navarro, et al., 20 Cr. 160 (MKV)

  Dear Judge Vyskocil:

          I represent Jason Servis in the above-referenced matter and write to respectfully request
  that the Court modify the briefing schedule for Phase Two Motions pursuant to this Court’s
  November 17, 2020 Order (Dkt. 215), which set May 24, 2021 as the date to file those defense
  motions. Given the volume of discovery that we are still reviewing, I respectfully request that the
  Phase Two Motions schedule be modified as follows: defense motions due on June 28,
  government response due on July 28, and defense replies due on August 11.

        Counsel for the thirteen remaining co-defendants in this case join in this request, and the
  government consents to this modified schedule.


                                                            Respectfully submitted,

                                                            ________/s/________________
                                                            Rita M. Glavin


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                                  GRANTED. Phase Two Motion should be submitted on the
                                                           SO
                                  schedule set out herein. S O ORDERED.

                                          3/12/2021
